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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA,                         )
                                                   )
                Plaintiff,                         )
                                                   )
 vs.                                               )   Case No. 99-CR-20-TCK
                                                   )
 KENNETH MAURICE WOODS,                            )
                                                   )
                Defendant.                         )

                                      OPINION AND ORDER

        Before the Court is Defendant’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or

 Correct Sentence by a Person in Federal Custody (“§ 2255 Motion”) (Doc. 903). Also before the

 Court is Woods’ pro se Motion to Supplement and/or Expand the Record with Additional Facts in

 Support of Petitioner’s Motion for Evidentiary Hearing (“Motion to Supplement”) (Doc. 918).

 I.     Background

        In September 1999, Woods was convicted of one count of conspiracy to distribute various

 controlled substances and one count of distributing heroin. Woods was sentenced to 216 months

 imprisonment, and his conviction was affirmed on direct appeal. On October 28, 2002, Woods filed

 a 28 U.S.C. § 2255 motion to vacate, set aside, or correct sentence, which this Court denied. On

 March 18, 2009, the Tenth Circuit denied Defendant’s request for a certificate of appealability.

        On June 10, 2011, a jury convicted former Tulsa Police Department Officer Harold Wells

 (“Wells”) of five federal crimes. (See United States v. Wells, 10-CR-116-BDB (Doc. 242).) After

 the trial judge granted Wells’ motion for a judgment of acquittal as to one count, Wells was

 ultimately convicted of the following four crimes: (1) conspiracy to possess with intent to distribute

 methamphetamine; (2) conspiracy to steal public funds; (3) theft of more than $1000 of public funds;
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 and (4) use of a communications facility to facilitate commission of a drug felony. (See id. (Doc.

 281).)

          On March 15, 2012, Mr. Wesley Johnson filed the § 2255 Motion on behalf of Woods,

 arguing that Wells’ testimony at Woods’ trial “can no longer be relied on as credible because of his

 police corruption conviction.” (§ 2255 Mot. at 4.) This argument, which is labeled as “Ground 1,”

 appears to be the only argument asserted by counsel. With respect to timeliness, Mr. Johnson argued

 that the § 2255 Motion was timely filed on March 15, 2012 because “June 10, 2011 is the date on

 which the factual predicate of the claim or claims presented could have been discovered through the

 exercise of due diligence,” in accordance with 28 U.S.C. § 2255(f)(4).

          Attached as Exhibit 1 to the § 2255 Motion is a pro se brief by Woods, which presents

 “Ground 2.” In Ground 2, Woods argues that evidence allegedly recovered by Wells and Officer

 John Gray (“Gray”) during various searches relevant to Woods’ conviction should have been

 excluded due to these officers’ planting of evidence, fabricating search warrants, and other

 misconduct. In the pro se Motion to Supplement, Woods seeks to supplement the record with

 testimony by Wells in an evidentiary hearing conducted by Judge Payne in United States v.

 Williams, 97-CR-171-JHP, on July 2, 2012.1




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            In Williams, the defendant alleged that unlawful conduct by Wells, Gray, and federal
 prosecutors led to his arrest and conviction and filed a motion to withdraw his guilty plea. Judge
 Payne construed the motion as one made pursuant to Federal Rule of Civil Procedure 60(d)(3) and
 held that “because Defendant seeks relief based on a fraud upon the court claim, it is distinct from
 a habeas petition and is not governed by AEDPA.” See id. at *5. Williams is of questionable
 precedential value in light of the Tenth Circuit’s decision in United States v. Baker, --- F.3d ----,
 2013 WL 1867427, at * 2 (10th Cir. 2013) (holding that motions labeled as Rule 60(d)(3) must be
 considered second or successive habeas petitions if they allege “fraud on the court” that occurred
 during the original criminal proceeding).

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 II.     Discussion

         The Court concludes that: (1) the Court lacks jurisdiction over the § 2255 Motion because

 it is Woods’ second § 2255 Motion; and (2) transfer of the § 2255 Motion to the Tenth Circuit

 pursuant to 28 U.S.C. § 1631 is in the interest of justice.2 The Court lacks jurisdiction over the

 motion because Woods previously filed a § 2255 Motion and has not received authorization to file

 a second § 2255 motion from the Tenth Circuit Court of Appeals. See 28 U.S.C. § 2244(b)(3)(A)

 (“Before a second or successive application permitted by this section is filed in the district court, the

 applicant shall move in the appropriate court of appeals for an order authorizing the district court

 to consider the application.”); In re Cline, 531 F.3d 1249, 1251-52 (10th Cir. 2008) (“A district court

 does not have jurisdiction to address the merits of a second or successive § 2255 or 28 U.S.C. § 2254

 claim until this court has granted the required authorization.”).

         “When a second or successive § 2254 or § 2255 claim is filed in the district court without

 the required authorization . . . , the district court may transfer the matter . . . if it determines it is in

 the interest of justice to do so under § 1631, or it may dismiss the motion or petition for lack of

 jurisdiction.” Id. at 1252. In order to determine whether transfer is in the interest of justice, a court

 should consider “whether the claims would be time barred if filed anew in the proper forum, whether

 the claims alleged are likely to have merit, and whether the claims were filed in good faith or if, on

 the other hand, it was clear at the time of filing that the court lacked the requisite jurisdiction.” Id.

 at 1251. When the motion “fails on its face to satisfy any of the authorization standards of §




         2
             This statute provides that if “a civil action is filed in a court as defined in section 610 of
 this title . . . and that court finds that there is a want of jurisdiction, the court shall, if it is in the
 interest of justice, transfer such action or appeal to any other such court in which the action or appeal
 could have been brought at the time it was filed . . . .” 28 U.S.C. § 1631.

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 2255(h)” and “there is no risk that a meritorious successive claim will be lost absent a § 1631

 transfer, a district court does not abuse its discretion” by electing dismissal. Id.

         The Court elects to transfer the § 2255 Motion rather than dismiss it. In this case, there is

 at least some chance that the Tenth Circuit would authorize certification of Ground 1 or Ground 2

 pursuant to 28 U.S.C. § 2255(h)(1). See In re: Robert Eskridge, Appeal No. 11-5082 (10th Cir. July

 7, 2011) (analyzing similar evidence related to Wells’ and Gray’s involvement in the prosecution

 of Robert Eskridge, Woods’ co-defendant, but ultimately concluding that he had “not made a prima

 facie showing that [Gray’s and Wells’ convictions], viewed in light of the evidence as a whole,

 would be sufficient to establish by clear and convincing evidence that no reasonable factfinder

 would have found Eskridge guilty of the offense”).3 In Eskridge, the Tenth Circuit conducted a fact-

 specific analysis that turned upon the precise record presented by the pro se defendant, and there

 was a dissenting judge. See id. at 15 (“Judge Briscoe dissented and would grant the motion or

 authorization to file a second or successive § 2255 motion.”). This causes the Court to believe that

 a transfer is in the interest of justice.

 III.    Conclusion

         The § 2255 Motion (Doc. 903) is transferred to the Tenth Circuit Court of Appeals pursuant

 to 28 U.S.C. § 1631. The Motion to Supplement (Doc. 918) is held in abeyance pending the Tenth

 Circuit’s authorization decision.

         SO ORDERED this 20th day of June, 2013.




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             This Tenth Circuit Order appears as Doc. 873 in this case.

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